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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                SHERMAN DIVISION

 YAN DING,

                       Plaintiff,

                  v.

 THE PARTNERSHIPS and                                     Civil Action No. 4:25-cv-517
 UNINCORPORATED ASSOCIATIONS
 IDENTIFIED ON SCHEDULE “A”


                       Defendants.


                   NOTICE OF APPEARANCE OF STEVENSON MOORE

       Notice is hereby given that the undersigned attorney, Stevenson Moore, enters his

appearance in this matter for Plaintiff, Yan Ding, for the purpose of receiving notices and orders

from the Court.

DATED June 19, 2025.                                        Respectfully submitted,

                                                            By: /s/ Stevenson Moore
                                                            Stevenson Moore
                                                            Texas Bar No. 24076573
                                                            smoore@nilawfirm.com

                                                            NI, WANG & MASSAND, PLLC
                                                            8140 Walnut Hill Ln., Ste. 615
                                                            Dallas, TX 75231
                                                            Tel: (972) 331-4600
                                                            Fax: (972) 314-0900


                                                            Counsel for Plaintiff




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                                CERTIFICATE OF SERVICE

        I hereby certify that on the 19th day of June, 2025, I electronically filed the foregoing
document with the clerk of the court for the U.S. District Court, Eastern District of Texas using
the electronic case filing system of the court. The electronic case filing system sent a “Notice of
Electronic Filing” to the attorneys of record who have consented in writing to accept this Notice
as service of this document by electronic means.

                                             /s/ Stevenson Moore
                                             Stevenson Moore
